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(3/15)


                              UNITED STATES DISTRICT COURT
                                                           for
                                           Eastern District of Washington


U.S.A. vs.                   Gendreau, Rhonda J                        Docket No.            2:17CR00128-RMP-7


                                Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Rhonda J Gendreau, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers, sitting in the Court at Spokane, Washington, on the 2nd day of August 2017, under the following conditions:


Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant admitted to ingesting methamphetamine on August 9, 2017.

Violation #2: The defendant admitted to ingesting methamphetamine on September 2, 2017.

Violation #3: The defendant tested positive for the presence of amphetamine and methamphetamine on September 7, 2017.

Violation #4: The defendant tested positive for the presence of amphetamine and methamphetamine on September 11, 2017.

  PRAYING THAT THE COURT WILL MODIFY CONDITIONS OF PRETRIAL RELEASE SUPERVISION


                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:       09/18/2017
                                                                 by      s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer
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THE COURT ORDERS

[   ]      No Action
[   ]      The Issuance of a Warrant
[   ]      The Issuance of a Summons
[   ]      The incorporation of the violation(s) contained in this
           petition with the other violations pending before the
           Court.
[ ]        Defendant to appear before the Judge assigned to the case.
[ ]        Defendant to appear before the Magistrate Judge.
[X ]       Modify conditions of pretrial release supervision.


                                                                        Signature of Judicial Officer

                                                                          September 19, 2017
                                                                        Date
